                                    IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                             CHARLOTTE DIVISION
                                     CIVIL ACTION NO. 3:16-CR-145-RJC-DCK

               UNITED STATES OF AMERICA,                            )
                                                                    )
                              Plaintiff,                            )
                                                                    )
                   v.                                               )     ORDER
                                                                    )
               ZAVIAN MUNIZE JORDAN,                                )
                                                                    )
                              Defendant.                            )
                                                                    )

                        THIS MATTER IS BEFORE THE COURT on Defendant’s “Motion To Seal”

              (Document No. 29) filed September 12, 2016. Having carefully considered the motion and the

              record, and for good cause shown, the undersigned will grant the motion.

                        IT IS, THEREFORE, ORDERED that Defendant’s “Motion To Seal” (Document No.

              29) is GRANTED. Defendant’s “Motion To Suppress” (Document No. 28) shall be sealed and

              remain sealed until otherwise ordered by the Court.


Signed: September 13, 2016




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